 Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 1 of 18




                   EXHIBIT 3

 REDACTED VERSION OF
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      Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 2 of 18
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      UBER TECHNOLOGIES, INC.
14    and OTTOMOTTO LLC

15                                 UNITED STATES DISTRICT COURT
16                              NORTHERN DISTRICT OF CALIFORNIA
17                                       SAN FRANCISCO DIVISION
18    WAYMO LLC,                                          Case No. 3:17-cv-00939-WHA
19                          Plaintiff,                    DEFENDANTS UBER
                                                          TECHNOLOGIES, INC. AND
20           v.                                           OTTOMOTTO LLC’S RESPONSES TO
                                                          WAYMO’S FIRST SET OF
21    UBER TECHNOLOGIES, INC.,                            EXPEDITED INTERROGATORIES
      OTTOMOTTO LLC; OTTO TRUCKING LLC,                   PURSUANT TO PARAGRAPH SIX OF
22                                                        THE MAY 11, 2017 PRELIMINARY
                            Defendants.                   INJUNCTION ORDER (NOS. 1-9)
23

24                                                        Trial Date: October 2, 2017
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     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
     Case No. 3:17-cv-00939-WHA                                                          1
      la-1350466
      Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 3 of 18
                    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1           In accordance with Rule 34 of the Federal Rules of Civil Procedure, Defendants Uber

 2    Technologies, Inc. and Ottomotto LLC (collectively “Defendants”) object and respond to Plaintiff

 3    Waymo LLC’s First Set of Expedited Interrogatories, served on May 22, 2017.

 4                                        GENERAL OBJECTIONS
 5           Defendants make the following general responses and objections (“General Objections”)

 6    to each definition, instruction, and request propounded in Waymo’s Interrogatories. These

 7    General Objections are hereby incorporated into each specific response. The assertion of the

 8    same, similar or additional objections or partial responses to the individual requests does not

 9    waive any of Defendants’ General Objections.

10           1.      Defendants object to each Interrogatory, Definition, or Instruction to the extent it

11    seeks or purports to impose obligations beyond or inconsistent with those imposed by the Federal

12    Rules of Civil Procedure or the applicable rules and orders of this Court.

13           2.      Nothing in these responses is an admission by Defendants of the existence,

14    relevance, or admissibility of any information, for any purpose. Defendants reserve all objections

15    as to competency, relevance, materiality, privilege, or admissibility related to the use of its

16    responses and any document or thing identified in its responses as evidence for any purpose

17    whatsoever in any subsequent proceeding in this trial or any other action.

18           3.      Defendants object to each Interrogatory to the extent it seeks information not

19    within Defendants’ possession, custody, or control and not kept by Defendants in their ordinary

20    course of business. Defendants will provide only relevant, non-privileged information that is

21    within its present possession, custody, or control and available after a reasonable investigation.

22           4.      Defendants object to these Interrogatories insofar as they purport to require

23    Defendants to search for information beyond that which is available after a reasonable search as it

24    relates to this case and the limited scope of discovery at this stage.

25           5.      Defendants object to each Interrogatory to the extent that it is not limited in time.

26    Defendants will produce information from a reasonable time period as it relates to this case.

27           6.      Defendants object to each Interrogatory to the extent it seeks a response from

28    persons or entities who are not parties to the lawsuit and over whom Defendants have no control.

     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
     Case No. 3:17-cv-00939-WHA                                                                              2
      la-1350466
      Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 4 of 18
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 1    Defendants respond to the Interrogatories on Defendants’ own behalf.

 2           7.      To the extent any Interrogatory, Instruction, or Definition may be construed as

 3    calling for disclosure of information subject to the attorney-client privilege, work product

 4    immunity, joint defense or common interest, or any other applicable privilege or protection,

 5    Defendants hereby claim such privileges and immunities and object on such grounds. Defendants

 6    do not waive, intentionally or otherwise, any attorney-client privilege, work-product immunity,

 7    joint defense or common-interest privilege or any other privilege, immunity, or other protection

 8    that may be asserted to protect information from disclosure.

 9           8.      Although Defendants have diligently complied with their discovery obligations at

10    this stage, their investigations in connection with this litigation are continuing. These responses

11    are limited to information obtained to date and are given without prejudice to Defendants’ right to

12    amend or supplement their responses after considering information obtained through further

13    discovery or investigation.

14           Subject to and without waiving its General Objections, Uber objects and responds to the

15    Interrogatories as follows:

16                             SPECIFIC OBJECTIONS AND RESPONSES
17    INTERROGATORY NO. 1:

18           IDENTIFY the locations and custody of all known copies of THE DOWNLOADED

19    MATERIALS, or any documents describing THE DOWNLOADED MATERIALS. If any of the

20    copies have [sic] no longer exist, explain DEFENDANTS’ full knowledge as to the destruction.

21    RESPONSE TO INTERROGATORY NO. 1:

22           Defendants object to this interrogatory because it implicates information protected by the

23    attorney-client privilege, the work-product doctrine, and the common-interest and joint-defense

24    privileges. Defendants further object to this interrogatory as vague and ambiguous because of its

25    use of the phrase “THE DOWNLOADED MATERIALS,” which, although a capitalized term, is

26    nevertheless an undefined term in Waymo’s first set of expedited interrogatories. Defendants

27    therefore will construe that phrase as it is defined by the Court’s May 11, 2017 Order Granting in

28    Part and Denying in Part Plaintiff’s Motion for Provisional Relief. (ECF No. 426, at 22.)

     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
     Case No. 3:17-cv-00939-WHA                                                                             3
      la-1350466
      Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 5 of 18
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 1    Defendants further object to the extent this interrogatory calls for information beyond

 2    Defendants’ possession, custody, or control. Defendants further object because Interrogatory

 3    No. 1 is actually two discrete interrogatories, not one.

 4           Subject to and without waiving the general and specific objections above, Defendants

 5    respond as follows:

 6           As Waymo knows, Defendants have conducted a diligent and extensive search of their

 7    files, servers, and systems (including Mr. Levandowski’s Uber-issued computer) and have

 8    discovered no Downloaded Materials in any such files, servers, or systems. Defendants are not

 9    now, and have not been, in possession of any Downloaded Materials. Uber directed Mr.

10    Levandowski to return allegedly downloaded files (if any) in his possession and to instruct every

11    person that he has reason to believe may be in possession to do the same; however, to date, he has

12    not complied and has therefore been terminated.

13           Prior to the Uber acquisition of Ottomotto, the lawyers representing Uber and Ottomotto,

14    acting on behalf of Uber and Ottomotto, retained the forensics firm Stroz Friedberg LLC

15    (“Stroz”) to undertake an investigation in anticipation of possible litigation, and for the purposes

16    of providing Uber and Ottomotto with facts needed to obtain legal advice. Uber and Ottomotto

17    therefore have asserted privilege over that investigation and object to this interrogatory to the

18    extent it seeks to obtain information about what information may be in Stroz’s possession.

19           On or about March 11, 2016, Mr. Levandowski reported to Mr. Kalanick, Nina Qi and

20    Cameron Poetzscher at Uber as well as Lior Ron that he had identified five discs in his possession

21    containing Google information. Mr. Kalanick conveyed to Mr. Levandowski in response that Mr.

22    Levandowski should not bring any Google information into Uber and that Uber did not want any

23    Google information. Shortly thereafter, Mr. Levandowski communicated to Uber that he had

24    destroyed the discs. Uber never received those discs, and does not know whether those discs

25    contained any of the “DOWNLOADED MATERIALS.”

26    INTERROGATORY NO. 2:

27           IDENTIFY all Diligenced Employees and the date(s) they became Diligenced Employees

28    (as that term is used in the OTTOMOTTO MERGER AGREEMENT).

     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
     Case No. 3:17-cv-00939-WHA                                                                              4
      la-1350466
      Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 6 of 18
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 1    RESPONSE TO INTERROGATORY NO. 2:

 2           Defendants object to this interrogatory as vague and ambiguous as to the meaning of “the

 3    date(s) they became Diligenced Employees.”

 4           Subject to and without waiving the general and specific objections above, Defendants

 5    respond as follows:

 6           The Diligenced Employees are:

 7                1. Anthony Levandowski

 8                2. Lior Ron

 9
10

11

12           These five individuals became Diligenced Employees on or around April 11, 2016.

13    INTERROGATORY NO. 3:

14           IDENTIFY all Uber Devices and Non-Uber Devices (as those terms are defined in

15    UBER00006444) that LEVANDOWSKI has used to access any of DEFENDANTS’ Networks

16    (as that term is defined in UBER00006444), or that LEVANDOWSKI could have used to access

17    any of DEFENDANTS’ Networks (as that term is defined in UBER00006444).

18    RESPONSE TO INTERROGATORY NO. 3:

19           Defendants object to this interrogatory because it implicates information protected by the

20    attorney-client privilege, the work-product doctrine, and the common-interest and joint-defense

21    privileges. Defendants further objects to this interrogatory to the extent it purports to require

22    expert opinion. Defendants further object to the interrogatory as vague, ambiguous, and

23    overbroad because it asks for the identity of any device that Levandowski “could have used” to

24    access Defendants’ networks, which is infinite in scope.

25           Subject to and without waiving the general and specific objections above, Defendants

26    respond as follows:

27            To Defendants’ knowledge, Mr. Levandowski used two devices to access Uber’s
28    networks:

     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
     Case No. 3:17-cv-00939-WHA                                                                           5
      la-1350466
      Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 7 of 18
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 1                1. A MacBook Pro (15-inch, 2016) computer provided to Mr. Levandowski by Uber

 2                2. A personal MacBook Pro (not issued by Uber)

 3    INTERROGATORY NO. 4:

 4           Describe the ownership of TYTO and/or ODIN WAVE, INCLUDING the identity of all

 5    PERSONS with current or former ownership interests in TYTO and/or ODIN WAVE, that

 6    PERSON’s current or former ownership interest(s), and the agreements creating or modifying

 7    those ownership interests.

 8    RESPONSE TO INTERROGATORY NO. 4:

 9           Defendants object to this interrogatory to the extent it seeks information that is not known

10    or available to Defendants. Defendants further object to this interrogatory as seeking information

11    that is neither relevant to a party’s claims or defenses nor likely to lead to discovery of admissible

12    evidence.

13           Subject to and without waiving the general and specific objections above, Defendants

14    respond as follows:

15

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24    INTERROGATORY NO. 5:

25           Describe all compensation (whether actual or conditional) discussed, conveyed or

26    promised by DEFENDANTS to LEVANDOWSKI at any time, INCLUDING (without

27    limitation) the DEFENDANT who discussed, conveyed or promised the compensation, the nature
28    of the compensation, the date the compensation was promised and/or conveyed, the amount of the

     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
     Case No. 3:17-cv-00939-WHA                                                                                6
      la-1350466
      Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 8 of 18
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 1    compensation, any conditions, contingencies, clawback rights or reservations associated with the

 2    compensation.

 3    RESPONSE TO INTERROGATORY NO. 5:

 4           Defendants object to this interrogatory as overbroad because it is not limited in time.

 5    Defendants further object to this interrogatory as overbroad, unduly burdensome, not “reasonably

 6    narrow” as required by the May 11, 2017 order, and as seeking information that is neither

 7    relevant to a party’s claims or defenses nor likely to lead to discovery of admissible evidence in

 8    extending to “all compensation” ever “discussed, conveyed, or promised.” Defendants further

 9    object because this interrogatory is vague as to the undefined term “compensation.”

10           Subject to and without waiving the general and specific objections above, Defendants

11    respond as follows:

12           Representatives of Uber, including Nina Qi and Cameron Poetzscher, began having

13    general discussions with Mr. Levandowski about the compensation component of Uber’s

14    acquisition of Ottomotto in early January 2016, and extending periodically until April 2016.

15    These discussions were not specific to Mr. Levandowski’s compensation, but instead were

16    general discussions about the consideration that Uber would pay as part of its acquisition of

17    Ottomotto.

18           In accordance with Federal Rule of Civil Procedure 33(d), Defendants further respond to

19    this interrogatory by referring Waymo to Mr. Levandowski’s employment-related agreements,

20    produced at Bates UBER00011726–729 (Mr. Levandowski’s 280 Systems employment

21    agreement); UBER00017108–126 (2013 Equity Incentive Plan); UBER00017127–146 (

22                    ); UBER00017083–091 (Mr. Levandowski’s Uber employment agreement,

23    signed on August 23, 2016); and UBER00017105–107 (                                           ). In

24    addition, Defendants also refer Waymo to the documents concerning Uber’s acquisition of

25    Ottomotto including, for example, those produced at Bates UBER00016453–523 (Agreement and

26    Plan of Merger) and UBER00017518–578 (Term Sheet).

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     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
     Case No. 3:17-cv-00939-WHA                                                                            7
      la-1350466
      Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 9 of 18
                    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1    INTERROGATORY NO. 6:

 2           Describe DEFENDANTS’ efforts to preserve evidence relevant to THIS CASE,

 3    INCLUDING (without limitation) when DEFENDANTS instituted any litigation hold(s)

 4    REGARDING THIS CASE, how DEFENDANTS implemented any litigation hold, all

 5    PERSONS who received any litigation hold, when each PERSON received each litigation hold,

 6    which PERSON(S) was responsible for monitoring compliance with each litigation hold, and any

 7    instances of non-compliance with such litigation hold.

 8    RESPONSE TO INTERROGATORY NO. 6:

 9           Defendants object to this interrogatory because it implicates information protected by the

10    attorney-client privilege, the work-product doctrine, and the common-interest and joint-defense

11    privileges. Defendants further object to the phrase “THIS CASE,” which, although a capitalized

12    term, is nevertheless undefined in Waymo’s first set of expedited interrogatories. Defendants will

13    construe that term to mean the above-captioned case (Waymo v. Uber Techs., Inc., et al., Case No.

14    3:17-cv-00939-WHA).

15           Subject to and without waiving the general and specific objections above, Defendants

16    respond as follows:

17           Defendants dispatched legal hold notices specific to this case beginning on March 9, 2017,

18    by distributing them to the following recipients via electronic mail: Anthony Levandowski, Lior

19    Ron,                                 Daniel Gruver                                         Gaetan

20    Pennecot,

21                                         Sameer Kshirsagar,

22                                                             James Haslim, Scott Boehmke, Eric

23    Meyhofer,                                                                Asheem Lineval,

24

25

26

27                                              Travis Kalanick,
28                                  The vast majority of the above recipients were sent the legal hold

     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
     Case No. 3:17-cv-00939-WHA                                                                            8
      la-1350466
     Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 10 of 18
                   HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1    notice between March 9, 2017 and March 14, 2017. Other individuals are from time to time

 2    added to the legal hold as circumstances warrant. For example, the following individuals were

 3    added to the legal hold on or about June 5, 2017:

 4

 5

 6

 7

 8

 9           In addition to dispatching legal hold notices, Uber has taken other measures to preserve

10    potentially relevant evidence, including specific backend measures to ensure that email and other
11    documents for the custodians on the legal hold are preserved, and retaining a third-party vendor to
12
      create forensically-sound images of approximately 140 employee workstations for preservation.
13
             Members of Uber’s in-house legal department are responsible for administering the legal
14
      hold and monitoring compliance with it. Defendants continue to monitor the developments in this
15

16    case and will modify the legal hold and the custodians subject to it as warranted.

17
      INTERROGATORY NO. 7:
18
             For each of DEFENDANTS’ past and present officers, directors, and employees identified
19
      in response to the Court’s April 4, 2017 Order (Dkt. 144) as having had LiDAR-related
20
      responsibilities or projects, identify all LiDAR-related projects that the PERSON has worked on,
21
      INCLUDING (without limitation) any LiDAR-related projects involving third parties.
22
      RESPONSE TO INTERROGATORY NO. 7:
23
             Defendants object to this interrogatory as overbroad because it is not limited in time, and
24
      extends to “all LiDAR-related projects that the PERSON has worked on.” Defendants further
25
      object to the phrase “all LiDAR-related projects” as vague and ambiguous. Defendants will
26
      construe this phrase to mean any LiDAR laser or sensor development projects.
27
28

     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
     Case No. 3:17-cv-00939-WHA                                                                            9
      la-1350466
     Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 11 of 18
                   HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1             Subject to and without waiving the general and specific objections above, Defendants

 2    respond as follows: For each PERSON in the list below, we have identified any LiDAR-related

 3    projects each PERSON worked on while employed by Defendants:

 4                                        Current Employees
      Last Name          First Name Location            LiDAR-related Project
 5
                                    San Francisco, CA   Fuji
 6                                  San Francisco, CA   Fuji
                                    San Francisco, CA   Fuji
 7                                                      Spider
                                                        Owl
 8                                  San Francisco, CA   Fuji
                                                              Spider
 9    Boehmke            Scott         Pittsburgh, PA         Fuji
                                                              Spider
10

11

12

13

14

15
                                       San Francisco, CA      Fuji
16                                                            Spider
                                       San Francisco, CA      Fuji
17                                     San Francisco, CA      Fuji
                                       San Francisco, CA      Fuji
18                                                            Spider
                                       San Francisco, CA      Fuji
19                                     Pittsburgh, PA
20                                     Pittsburgh, PA         Fuji
                                       San Francisco, CA      Fuji
21                                                            Spider
                                       Pittsburgh, PA         Fuji
22
                                       Pittsburgh, PA
23

24                                     San Francisco, CA      Fuji
                                                              Spider
25    Gruver             Daniel        San Francisco, CA      Fuji
                                                              Spider
26                                     Pittsburgh, PA         Fuji
      Haslim             James         San Francisco, CA      Fuji
27                                                            Spider

28                                                            Owl

     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
     Case No. 3:17-cv-00939-WHA                                                                       10
      la-1350466
     Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 12 of 18
                   HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1    Last Name         First Name Location                   LiDAR-related Project
                                   San Francisco, CA          Fuji
 2                                                            Spider
                                      Pittsburgh, PA          Fuji
 3
                                      San Francisco, CA       Fuji
 4                                                            Spider
                                                              Owl
 5                                    San Francisco, CA       Fuji
                                                              Spider
 6    Kshirsagar        Sameer        San Francisco, CA       Fuji
                                                              Spider
 7                                    Pittsburgh, PA          Fuji
                                      San Francisco, CA       Fuji
 8                                                            Spider
      Levandowski       Anthony       San Francisco, CA       Fuji
 9                                                            Spider

10

11

12                                    San Francisco, CA       Fuji
                                                              Spider
13
      Linaval           Asheem        San Francisco, CA       Fuji
14                                                            Spider
                                                              Owl
15                                    San Francisco, CA       Fuji
                                      San Francisco, CA       Fuji
16                                                            Spider
                                                              Owl
17                                    San Francisco, CA       Fuji
      Meyhofer          Eric          Pittsburgh, PA          Fuji
18                                                            Spider
19

20
                                      Pittsburgh, PA
21                                    Pittsburgh, PA          Fuji
                                      San Francisco, CA       Fuji
22                                                            Spider
                                                              Owl
23    Pennecot          Gaetan        San Francisco, CA       Fuji
                                                              Spider
24
                                      San Francisco, CA       Fuji
25                                                            Spider
                                      San Francisco, CA       Fuji
26                                                            Spider
                                      San Francisco, CA       Fuji
27                                    Pittsburgh, PA          Fuji
                                                              Spider
28                                    Pittsburgh, PA

     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
     Case No. 3:17-cv-00939-WHA                                                       11
      la-1350466
     Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 13 of 18
                   HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1    Last Name         First Name Location                    LiDAR-related Project
                                   San Francisco, CA           Fuji
 2                                 San Francisco, CA           Fuji
                                                               Spider
 3
                                       San Francisco, CA       Fuji
                                                               Spider
 4
                                       Pittsburgh, PA
 5                                     San Francisco, CA       Fuji
                                                               Spider
 6                                     San Francisco, CA       Fuji
                                                               Spider
 7                                     San Francisco, CA       Fuji
                                                               Spider
 8                                     San Francisco, CA       Fuji
                                       San Francisco, CA       Spider
 9                                     San Francisco, CA       Fuji
                                       Pittsburgh, PA          Fuji
10                                     San Francisco, CA       Fuji
                                       San Francisco, CA       Fuji
11                                                             Spider
                                       San Francisco, CA       Fuji
12                                     San Francisco, CA       Fuji
                                                               Spider
13
                                       Pittsburgh, PA
14
                                             Former Employees
15
      Last Name       First Name      Location          LiDAR Projects
16                                    San Francisco, CA Fuji
                                                             Spider
17                                    San Francisco, CA      Fuji
                                                             Spider
18

19    INTERROGATORY NO. 8:

20           Describe all consulting work performed by LEVANDOWSKI for UBER before

21    August 18, 2016, INCLUDING the terms of the consulting and any compensation arrangements.

22    RESPONSE TO INTERROGATORY NO. 8:

23           Before August 18, 2016, Anthony Levandowski was not a retained consultant for Uber

24    and there was no consultant agreement or consultancy compensation arrangement between Mr.

25    Levandowski and Uber. Beginning in late winter or early spring 2016, and continuing until the

26    transaction between Uber and Ottomotto closed, Mr. Levandowski would from time to time:

27    visit Uber’s facilities in San Francisco and Pittsburgh; attend Uber meetings related to

28    autonomous vehicles; meet with various Uber tech leads, engineers, and other employees of

     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
     Case No. 3:17-cv-00939-WHA                                                                       12
      la-1350466
     Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 14 of 18
                   HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1    Uber’s autonomous vehicle program; tour Uber’s facilities and labs; and examine Uber’s

 2    autonomous vehicle project records.

 3    INTERROGATORY NO. 9:

 4           Identify in detail all COMMUNICATIONS between DEFENDANTS and

 5    LEVANDOWSKI or anyone acting on his behalf relating to the Court’s May 11, 2017 Order

 6    Granting in Part and Denying in Part Waymo’s Motion for a Preliminary Injunction, including

 7    LEVANDOWSKI’s May 18, 2017 Motion to Intervene, by identifying for each such

 8    COMMUNICATION: its date, its form (i.e. oral or in writing, and if in writing the form of

 9    writing), the individuals involved, its substance, and if in writing its production number.

10    RESPONSE TO INTERROGATORY NO. 9:

11           Defendants object to this interrogatory because it implicates information protected by the

12    attorney-client privilege, the work-product doctrine, and the common-interest and joint-defense

13    privileges.

14           Subject to and without waiving the above general and specific objections, Defendants

15    respond as follows:

16           In accordance with Federal Rule of Civil Procedure 33(d), Defendants respond to this

17    interrogatory by referring Waymo to the following documents that were sent by email to the

18    Special Master in this litigation with a copy to Waymo’s counsel of record:

19           May 15, 2017 letter from Salle Yoo (Uber’s General Counsel) to Anthony Levandowski,

20    c/o Mr. Levandowski’s counsel at Ramsey & Erlich LLP, requesting compliance with the Court’s

21    May 11, 2017 order. This letter was provided to Waymo’s counsel on May 19, 2017.

22           May 26, 2017 letter from Salle Yoo (Uber’s general counsel) to Anthony Levandowski

23    c/o Mr. Levandowski’s counsel at Ramsey & Erlich LLP, terminating Mr. Levandowski’s

24    employment. This letter was produced to Waymo’s counsel on May 30, 2017.

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     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
     Case No. 3:17-cv-00939-WHA                                                                           13
      la-1350466
     Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 15 of 18
                   HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1    Dated: June 5, 2017                          MORRISON & FOERSTER LLP

 2
                                                   By: /s/ Arturo J. González
 3                                                       ARTURO J. GONZÁLEZ
 4                                                 Attorneys for Defendants
                                                   UBER TECHNOLOGIES, INC.
 5                                                 and OTTOMOTTO LLC
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     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
     Case No. 3:17-cv-00939-WHA                                                 14
      la-1350466
     Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 16 of 18
                   HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1                                                VERIFICATION

 2          I, Eric Meyhofer, declare:

 3          1.      I am Head of ATG for Defendant Uber Technologies, Inc. (“Uber”) in the above-

 4   captioned action, and I am authorized to execute this verification on behalf of Uber and

 5   Ottomotto LLC.

 6          2.      I have read Defendants Uber Technologies, Inc. and Ottomotto LLC’s Responses

 7   to Waymo’s First Set of Expedited Interrogatories (the “Responses”), and know the contents

 8   thereof.

 9          3.      I am informed and believe that the matters stated in the Responses are true and

10   correct and, on that ground, allege that the matters stated therein are true and correct.

11

12          I declare under penalty of perjury that the foregoing is true and correct.

13          Executed this 5th day of June, 2017, at Pittsburgh, Pennsylvania.

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                                                            Eric Meyhofer
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     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
     Case No. 3:17-cv-00939-WHA
     la-1350466
     Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 17 of 18



 1                                   CERTIFICATE OF SERVICE

 2          I declare that I am employed with the law firm of Morrison & Foerster LLP, whose address
     is 707 Wilshire Boulevard, Los Angeles, CA 90017-3543. I am not a party to the within cause,
 3   and I am over the age of eighteen years.

 4         I further declare that on June 5, 2017, I served true and correct copies of the following
     documents:
 5
        •   DEFENDANTS UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S
 6          RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED
            INTERROGATORIES PURSUANT TO PARAGRAPH SIX OF THE MAY 11,
 7          2017 PRELIMINARY INJUNCTION ORDER (NOS. 1-9)

 8           BY ELECTRONIC SERVICE [Fed. Rule Civ. Proc. rule 5(b)] by electronically
              mailing a true and correct copy through Morrison & Foerster LLP’s electronic mail
 9            system to the e-mail address(es) set forth below, or as stated on the attached service
              list per agreement in accordance with Federal Rules of Civil Procedure rule 5(b).
10

11       Recipient                                        Email Address:
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         Melissa Baily
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         Jordan Jaffe
14       James D. Judah
         John W. McCauley
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16       Andrew M. Holmes
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23       Attorneys for Plaintiff Waymo LLC

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     CERTIFICATE OF SERVICE
     Case No. 3:17-cv-00939-WHA
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     sf-3774913
     Case 3:17-cv-00939-WHA Document 681-8 Filed 06/21/17 Page 18 of 18



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 5       Three Embarcadero Center
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 6
         Attorneys for Defendant Otto Trucking LLC
 7
            I declare under penalty of perjury that the foregoing is true and correct. Executed at Palo
 8
     Alto, California, this 5th day of June, 2017.
 9

10                   Ethel Villegas                                   /s/ Ethel Villegas
                        (typed)                                           (signature)
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     CERTIFICATE OF SERVICE
     Case No. 3:17-cv-00939-WHA
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     sf-3774913
